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                                                                         Chief Approval _ . ,
  AF Approval # -



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

   UNITED STATES OF AMERICA

   v.                                          CASE NO. 8:16-cr-157-T-36AEP

   CATHERINE CROTTS

                                   PLEA AGREEMENT

          Pursuant to Fed . R. Crim . P. 11 (c) , the United States of America , by A.

   Lee Bentley, Ill , United States Attorney for the Middle District of Florida , and the

   defendant, CATHERINE CROTIS, and the attorney for the defendant, Adam

   Nate, mutually agree as follows :

   A.     Particularized Terms

          1.     Count(s) Pleading To

                 The defendant shall enter a plea of guilty to Count One of the

   Indictment. Count One charges the defendant with knowingly and intentionally

   possessing with intent to distribute and distributing 5 grams and more of

   methamphetamine , a Schedule II controlled substance , in violation of Title 21 ,

   United States Code , Sections 841(a)(1) and 841(b)(1)(B)(viii) .

          2.     Minimum and Maximum Penalties

                 Count One is punishable by a mandatory minimum term of

   imprisonment of 5 years up to 40 years , a fine of $5,000 ,000.00 , a term of

   supervised release of at least 4 years , and a special assessment of $100 . With

   respect to certain offenses, the Court shall order the defendant to make




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      restitution to any victim of the offense(s) , and with respect to other offenses, the

      Court may order the defendant to make restitution to any victim of the offense(s) ,

      or to the community, as set forth below.

             3.       Alleyne v. United States and Apprendi v. New Jersey

                      Under Alleyne v. United States, 133 S. Ct. 2151 (2013) , the

      defendant is subject to a mandatory minimum sentence of five years

      imprisonment as to Count One and under Apprendi v. New Jersey, 530 U.S. 466

      (2000) , the Court may impose a maximum sentence of 40 years as to Count One

      because the following facts have been admitted by the defendant and are

      established by this plea of guilty: On July 27 , 2015 , the defendant possessed

      with intent to distribute and did distribute to a confidential informant and

      undercover officer two bags of methamphetamine that contained five (5) grams

      or more of methamphetamine in exchange for $2 ,200. The substances in the

      two bags were subsequently tested by both the FDLE lab and the DEA lab. Both

      labs determined that the substances in each of the two bags was

      methamphetamine. The DEA lab results determined that the two bags contained

      a pure substance amount of methamphetamine of approximately 35 grams.

             4.       Elements of the Offense(s)

                      The defendant acknowledges understanding the nature and

      elements of the offense(s) with which defendant has been charged and to which

      defendant is pleading guilty. The elements of Count One are:

             First:          The Defendant distributed a quantity of methamphetamine;


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         Second:          The Defendant did so knowingly and intentionally; and

                          The quantity of methamphetamine the Defendant distributed
                          was more than 5 grams of pure methamphetamine.

          5.     No Further Charges

                 If the Court accepts this plea agreement, the United States

   Attorney's Office for the Middle District of Florida agrees not to charge the

   defendant with committing any other federal criminal offenses known to the

   United States Attorney's Office at the time of the execution of this agreement,

   related to the conduct giving rise to this plea agreement.

          6.     Guidelines Sentence

                 Pursuant to Fed . R. Crim . P. 11(c)(1)(B), the United States will

   recommend to the Court that the defendant be sentenced within the defendant's

   applicable guidelines range as determined by the Court pursuant to the United

   States Sentencing Guidelines, as adjusted by any departure the United States

   has agreed to recommend in this plea agreement. The parties understand that

   such a recommendation is not binding on the Court and that, if it is not accepted

   by this Court, neither the United States nor the defendant will be allowed to

   withdraw from the plea agreement, and the defendant will not be allowed to

   withdraw from the plea of guilty.

          7.     Acceptance of Responsibility- Three Levels

                 At the time of sentencing , and in the event that no adverse

   information is received suggesting such a recommendation to be unwarranted ,


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   the United States will not oppose the defendant's request to the Court that the

   defendant receive a two-level downward adjustment for acceptance of

   responsibility, pursuant to USSG §3E1 .1(a) . The defendant understands that this

   recommendation or request is not binding on the Court, and if not accepted by

   the Court, the defendant will not be allowed to withdraw from the plea.

                 Further, at the time of sentencing , if the defendant's offense level

   prior to operation of subsection (a) is level16 or greater, and if the defendant

   complies with the provisions of USSG §3E1 .1(b) and all terms of this Plea

   Agreement, including but not limited to, the timely submission of the financial

   affidavit referenced in Paragraph 8 .5., the United States agrees to file a motion

   pursuant to USSG §3E1 .1(b) for a downward adjustment of one additional level.

   The defendant understands that the determination as to whether the defendant

   has qualified for a downward adjustment of a third level for acceptance of

   responsibility rests solely with the United States Attorney for the Middle District of

   Florida , and the defendant agrees that the defendant cannot and will not

   challenge that determination, whether by appeal , collateral attack, or otherwise.

          8.     Cooperation - Substantial Assistance to be Considered

                 Defendant agrees to cooperate fully with the United States in the

   investigation and prosecution of other persons , and to testify, subject to a

   prosecution for perjury or making a false statement, fully and truthfully before any

   federal court proceed ing or federal grand jury in connection with the charges in

   this case and other matters, such cooperation to further include a full and




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   complete disclosure of all relevant information , including production of any and all

   books , papers, documents , and other objects in defendant's possession or

   control , and to be reasonably available for interviews which the United States

   may require . If the cooperation is completed prior to sentencing , the government

   agrees to consider whether such cooperation qualifies as "substantial

   assistance" in accordance with the policy of the United States Attorney for the

   Middle District of Florida , warranting the filing of a motion at the time of

   sentencing recommending (1) a downward departure from the applicable

   guideline range pursuant to USSG §5K1 .1, or (2) the imposition of a sentence

   below a statutory minimum , if any, pursuant to 18 U.S.C. § 3553(e) , or (3) both.

   If the cooperation is completed subsequent to sentencing , the government

   agrees to consider whether such cooperation qualifies as "substantial

   assistance" in accordance with the policy of the United States Attorney for the

   Middle District of Florida , warranting the filing of a motion for a reduction of

   sentence within one year of the imposition of sentence pursuant to Fed . R. Crim .

   P. 35(b) . In any case, the defendant understands that the determination as to

   whether "substantial assistance" has been provided or what type of motion

   related thereto will be filed , if any, rests solely with the United States Attorney for

   the Middle District of Florida , and the defendant agrees that defendant cannot

   and will not challenge that determination , whether by appeal , collateral attack, or

   otherwise .

          9.     Forfeiture of Assets




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                 The defendant agrees to forfeit to the United States immediately

   and voluntarily any and all assets and property, or portions thereof, subject to

   forfeiture , pursuant to Title 21 , United States Code, Section 853 , whether in the

   possession or control of the United States or in the possession or control of the

   defendant or defendant's nominees. The defendant also hereby agrees to waive

   all constitutional , statutory and procedural challenges in any manner (including

   direct appeal , habeas corpus , or any other means) to any forfeiture carried out in

   accordance with this Plea Agreement on any grounds, including that the

   forfeiture described herein constitutes an excessive fine , was not properly

   noticed in the charging instrument, addressed by the Court at the time of the

   guilty plea , announced at sentencing , or incorporated into the judgment.

                 The defendant admits and agrees that the conduct described in the

   Factual Basis below provides a sufficient factual and statutory basis for the

   forfeiture of the property sought by the government. Pursuant to Rule 32 .2(b)(4),

   the defendant agrees that the preliminary order of forfeiture will satisfy the notice

   requirement and will be final as to the defendant at the time it is entered . In the

   event the forfeiture is omitted from the judgment, the defendant agrees that the

   forfeiture order may be incorporated into the written judgment at any time

   pursuant to Rule 36 .

                 The defendant agrees that the United States shall , at its option , be

   entitled to the forfeiture of any property (substitute assets) of the defendant up to

   the value of the money judgment. The Court shall retain jurisdiction to settle any



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   disputes arising from application of this clause. The defendant agrees that

   forfeiture of substitute assets as authorized herein shall not be deemed an

   alteration of the defendant's sentence.

                The defendant agrees to take all steps necessary to identify and

   locate all substitute assets and to transfer custody of such assets to the United

   States before the defendant's sentencing . The defendant agrees to be

   interviewed by the government, prior to and after sentencing , regarding such

   assets. The defendant further agrees to be polygraphed on the issue of assets, if

   it is deemed necessary by the United States. The defendant agrees that Federal

   Rule of Criminal Procedure 11 and USSG § 181 .8 will not protect from forfeiture

   assets disclosed by the defendant as part of his cooperation.

                 The defendant agrees to take all steps necessary to assist the

   government in obtaining clear title to any substitute assets before the defendant's

   sentencing . In addition to providing full and complete information about

   substitute assets , these steps include, but are not limited to, the surrender of title ,

   the signing of a consent decree of forfeiture , and signing of any other documents

   necessary to effectuate such transfers.

                 Forfeiture of the defendant's assets shall not be treated as

   satisfaction of any fine , restitution , cost of imprisonment, or any other penalty the

   Court may impose upon the defendant in addition to forfeiture .

                 The defendant agrees that, in the event the Court determines that

   the defendant has breached this section of the Plea Agreement, the defendant


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  may be found ineligible for a reduction in the Guidelines calculation for

  acceptance of responsibility and substantial assistance, and may be eligible for

  an obstruction of justice enhancement.

   B.     Standard Terms and Conditions

          1.     Restitution . Special Assessment and Fine

                 The defendant understands and agrees that the Court, in addition

  to or in lieu of any other penalty, shall order the defendant to make restitution to

   any victim of the offense(s) , pursuant to 18 U.S.C. § 3663A, for all offenses

   described in 18 U.S.C . § 3663A(c)(1 ); and the Court may order the defendant to

   make restitution to any victim of the offense(s) , pursuant to 18 U.S.C. § 3663 ,

   includ ing restitution as to all counts charged , whether or not the defendant enters

   a plea of guilty to such counts, and whether or not such counts are dismissed

   pursuant to this agreement. The defendant further understands that compliance

   with any restitution payment plan imposed by the Court in no way precludes the

   United States from simultaneously pursuing other statutory remed ies for

   collecting restitution (28 U.S.C. § 3003(b)(2)) , including , but not limited to,

   garnishment and execution , pursuant to the Mandatory Victims Restitution Act, in

   order to ensure that the defendant's restitution obligation is satisfied .

                 On each count to which a plea of guilty is entered , the Court shall

   impose a special assessment pursuant to 18 U.S.C. § 3013. The special

   assessment is due on the date of sentencing .




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                     The defendant understands that this agreement imposes no

  limitation as to fine.

          2.         Supervised Release

                     The defendant understands that the offense(s) to which the

  defendant is pleading provide(s) for imposition of a term of supervised release

  upon release from imprisonment, and that, if the defendant should violate the

  conditions of release , the defendant would be subject to a further term of

  imprisonment.

          3.         Immigration Consequences of Pleading Guilty

                     The defendant has been advised and understands that, upon

  conviction , a defendant who is not a United States citizen may be removed from

  the United States, denied citizenship , and denied admission to the United States

   in the future .

          4.         Sentencing Information

                     The United States reserves its right and obligation to report to the

   Court and the United States Probation Office all information concerning the

   background , character, and conduct of the defendant, to provide relevant factual

   information , including the totality of the defendant's criminal activities , if any, not

   limited to the count(s) to which defendant pleads , to respond to comments made

   by the defendant or defendant's counsel , and to correct any misstatements or

   inaccuracies . The United States further reserves its right to make any




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   recommendations it deems appropriate regarding the disposition of this case ,

   subject to any limitations set forth herein, if any.



          5.     Financial Disclosures

                 Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim . P.

   32(d)(2)(A)(ii) , the defendant agrees to complete and submit to the United States

   Attorney's Office within 30 days of execution of this agreement an affidavit

   reflecting the defendant's financial condition . The defendant promises that her

   financial statement and disclosures will be complete , accurate and truthful and

   will include all assets in which she has any interest or over which the defendant

   exercises control , directly or indirectly, including those held by a spouse ,

   dependent, nominee or other third party. The defendant further agrees to

   execute any documents requested by the United States needed to obtain from

   any third parties any records of assets owned by the defendant, directly or

   through a nominee, and, by the execution of this Plea Agreement, consents to

   the release of the defendant's tax returns for the previous five years. The

   defendant similarly agrees and authorizes the United States Attorney's Office to

   provide to, and obtain from , the United States Probation Office , the financial

   affidavit, any of the defendant's federal , state , and local tax returns , bank records

   and any other financial information concerning the defendant, for the purpose of

   making any recommendations to the Court and for collecting any assessments,

   fines , restitution , or forfeiture ordered by the Court. The defendant expressly


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   authorizes the United States Attorney's Office to obtain current credit reports in

   order to evaluate the defendant's ability to satisfy any financial obligation

   imposed by the Court.

          6.       Sentencing Recommendations

                   It is understood by the parties that the Court is neither a party to nor

   bound by this agreement. The Court may accept or reject the agreement, or

   defer a decision until it has had an opportunity to consider the presentence report

   prepared by the United States Probation Office. The defendant understands and

   acknowledges that, although the parties are permitted to make recommendations

   and present arguments to the Court, the sentence will be determined solely by

   the Court, with the assistance of the United States Probation Office. Defendant

   further understands and acknowledges that any discussions between defendant

   or defendant's attorney and the attorney or other agents for the government

   regarding any recommendations by the government are not binding on the Court

   and that, should any recommendations be rejected , defendant will not be

   permitted to withdraw defendant's plea pursuant to this plea agreement. The

   government expressly reserves the right to support and defend any decision that

   the Court may make with regard to the defendant's sentence , whether or not

   such decision is consistent with the government's recommendations contained

   herein .

              7.   Defendant's Waiver of Right to Appeal the Sentence




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                  The defendant agrees that this Court has jurisdiction and authority

   to impose any sentence up to the statutory maximum and expressly waives the

   right to appeal defendant's sentence on any ground, including the ground that the

   Court erred in determining the applicable guidelines range pursuant to the United

   States Sentencing Guidelines, except (a) the ground that the sentence exceeds

   the defendant's applicable guidelines range as determined by the Court pursuant

   to the United States Sentencing Guidelines; (b) the ground that the sentence

   exceeds the statutory maximum penalty; or (c) the ground that the sentence

   violates the Eighth Amendment to the Constitution ; provided, however, that if the

   government exercises its right to appeal the sentence imposed , as authorized by

   18 U.S.C. § 3742(b) , then the defendant is released from his waiver and may

   appeal the sentence as authorized by 18 U.S.C. § 3742(a).

          8.      Middle District of Florida Agreement

                  It is further understood that this agreement is limited to the Office of

   the United States Attorney for the Middle District of Florida and cannot bind other

   federal, state, or local prosecuting authorities, although this office will bring

   defendant's cooperation , if any, to the attention of other prosecuting officers or

   others , if requested .

          9.      Filing of Agreement

                  This agreement shall be presented to the Court, in open court or in

   camera , in whole or in part, upon a showing of good cause, and filed in this

   cause, at the time of defendant's entry of a plea of guilty pursuant hereto.


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           10.   Voluntariness

                 The defendant acknowledges that defendant is entering into this

   agreement and is pleading guilty freely and voluntarily without reliance upon any

   discussions between the attorney for the government and the defendant and

   defendant's attorney and without promise of benefit of any kind (other than the

   concessions contained herein), and without threats, force , intimidation , or

   coercion of any kind. The defendant further acknowledges defendant's

   understanding of the nature of the offense or offenses to which defendant is

   pleading guilty and the elements thereof, including the penalties provided by law,

   and defendant's complete satisfaction with the representation and advice

   received from defendant's undersigned counsel (if any) . The defendant also

   understands that defendant has the right to plead not guilty or to persist in that

   plea if it has already been made, and that defendant has the right to be tried by a

   jury with the assistance of counsel , the right to confront and cross-examine the

   witnesses against defendant, the right against compulsory self-incrimination , and

   the right to compulsory process for the attendance of witnesses to testify in

   defendant's defense; but, by pleading guilty, defendant waives or gives up those

   rights and there will be no trial. The defendant further understands that if

   defendant pleads guilty, the Court may ask defendant questions about the

   offense or offenses to which defendant pleaded , and if defendant answers those

   questions under oath , on the record , and in the presence of counsel (if any) ,

   defendant's answers may later be used against defendant in a prosecution for



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  perjury or false statement. The defendant also understands that defendant will

  be adjudicated guilty of the offenses to which defendant has pleaded and , if any

  of such offenses are felonies, may thereby be deprived of certain rights, such as

  the right to vote , to hold public office, to serve on a jury, or to have possession of

  firearms .

         11 .   Factual Basis

                Defendant is pleading guilty because defendant is in fact guilty.

  The defendant certifies that defendant does hereby admit that the facts set forth

  below are true, and were this case to go to trial , the United States would be able

  to prove those specific facts and others beyond a reasonable doubt.

                                          FACTS

                On July 23 , 2015 , the defendant participated in a controlled

  telephone call with a confidential informant in which she agreed to sell the

  confidential informant two ounces of methamphetamine in exchange for $2 ,200 .

  The defendant and the confidential informant agreed to meet at the Hard Rock

  Hotel and Casino in Tampa , Florida several days later to conduct the sale .

                On July 27 , 2015 , the confidential informant, accompanied by an

  undercover officer, met with the defendant in the parking lot of the Hard Rock

  Hotel and Casino. The defendant arrived at the parking lot and entered the

  backseat of the undercover officer's vehicle. The undercover officer and the

  confidential informant were in the front seat of the vehicle. During their

  conversation inside the vehicle, the defendant reached into her bra and pulled


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        out two bags of methamphetamine and placed them on the floor of the

        undercover officer's vehicle. The undercover officer weighed the bags on his

        scale on the middle floorboard in the backseat of the vehicle. The undercover

        officer then handed the defendant $2 ,200 in Hillsborough County investigative

        funds while stating , "here's 22 ." Several minutes later, the defendant exited the

        vehicle. The undercover officer and confidential informant then left the parking

        lot.

                      The substances in the two bags were subsequently tested by both

        the FDLE lab and the DEA lab. Both labs determined that the substances

        contained in each of the two bags was methamphetamine. The DEA lab results

        determined that the two bags weighed approximately 53 grams and contained a

        pure substance amount of methamphetamine of approximately 35 grams.

               12.    Entire Agreement

                      This plea agreement constitutes the entire agreement between the

        government and the defendant with respect to the aforementioned guilty plea

        andno other promises, agreements, or representations exist or have been made

        to the defendant or defendant's attorney with regard to such guilty plea.




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                   13.         Certification

                               The defendant and defendant's counsel certify that this plea

        agreement has been read in its entirety by (or has been read to) the defendant

        and that defendant fully understands its terms.

                   DATED this             c28::         day of June, 2016 .

                                                                                     A. LEE BENTLEY, Ill
                                                                                     United States Attorney




        Defendant



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        Attorney for Defendant




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